        Case 1:14-bk-10661             Doc 6 Filed 04/02/14 Entered 04/03/14 00:47:12                               Desc Imaged
                                            Certificate of Notice Page 1 of 3
                                               United States Bankruptcy Court
                                                 District of Rhode Island
In re:                                                                                                     Case No. 14-10661-DF
Karen A Delamotte                                                                                          Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0103-1                  User: admin                        Page 1 of 1                          Date Rcvd: Mar 31, 2014
                                      Form ID: B9A                       Total Noticed: 16

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 02, 2014.
db            +Karen A Delamotte,   85 Mill Street Apt 2,   Newport, RI 02840-3164
944212312      Northstar Location Services,   4285 Genesee Street,   Cheektowaga, NY 14225-1943
944212315     +The Peoples Credit Uni,   858 West Main Rd,   Middletown, RI 02842-6398

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty           E-mail/Text: wwh@lawhch.com Mar 31 2014 18:30:22        William W. Harvey,   Harvey, Carr & Hadfield,
               47 Long Wharf Mall,    Newport, RI 02840
tr           +EDI: BCAPISATURO.COM Mar 31 2014 18:28:00       Charles A. Pisaturo, Jr.,
               Law Offices of Charles A. Pisaturo Jr.,    1055 Elmwood Avenue,     Providence, RI 02907-3640
ust          +E-mail/Text: ustpregion01.pr.ecf@usdoj.gov Mar 31 2014 18:30:25        Gary L. Donahue,
               Office of the U.S. Trustee,    10 Dorrance Street,     Providence, RI 02903-2018
944212305     EDI: BANKAMER.COM Mar 31 2014 18:28:00      Bank Of America,     Po Box 982235,    El Paso, TX 79998
944212306    +EDI: TSYS2.COM Mar 31 2014 18:28:00      Barclays Bank Delaware,     125 S West St,
               Wilmington, DE 19801-5014
944212307    +EDI: CHASE.COM Mar 31 2014 18:28:00      Chase,    Po Box 15298,    Wilmington, DE 19850-5298
944212308    +EDI: CITICORP.COM Mar 31 2014 18:28:00      Citi,     Po Box 6241,   Sioux Falls, SD 57117-6241
944212309    +EDI: WFNNB.COM Mar 31 2014 18:28:00      Comenity Capital/hsn,     995 W 122nd Ave,
               Westminster, CO 80234-3417
944212310     EDI: IRS.COM Mar 31 2014 18:28:00      IRS Central Insolvency Operation,     PO BOX 21126,
               Philidelphia, PA 19114-0326
944212311    +EDI: LTDFINANCIAL.COM Mar 31 2014 18:28:00       Ltd,    7322 Southwest Freeway Suite 1600,
               Houston, TX 77074-2134
944212313    +EDI: CITICORP.COM Mar 31 2014 18:28:00      Shell/citi,     Po Box 6497,
               Sioux Falls, SD 57117-6497
944212314    +EDI: WTRRNBANK.COM Mar 31 2014 18:28:00      Td Bank Usa/targetcred,     Po Box 673,
               Minneapolis, MN 55440-0673
944212316    +EDI: TFSR.COM Mar 31 2014 18:28:00      Toyota Motor Credit,     1500 W Park Dr,
               Westborough, MA 01581-3936
                                                                                                TOTAL: 13

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 02, 2014                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 29, 2014 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
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FORM B9A (Chapter 7 Individual or Joint Debtor No Asset Case)                                                   Case Number 1:14−bk−10661
                             UNITED STATES BANKRUPTCY COURT
                                    DISTRICT of RHODE ISLAND
                Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
      A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 3/28/14 .

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.Participants should plan on arriving to the court at least 20−30 minutes in advance of
the scheduled meeting time in order to be processed through building security. You must bring this notice in order to use the appointment
line for quicker processing.


          Creditors− Do not file this notice in connection with any proof of claim you submit to the court.
                                   See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Karen A Delamotte
aka Karen Maria Abbondanza
85 Mill Street Apt 2
Newport, RI 02840
Case Number:                                                            Last Four digits of SSN/Taxpayer ID/Ein Nos.:
1:14−bk−10661                                                           xxx−xx−1127
Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
William W. Harvey                                                       Charles A. Pisaturo Jr.
Harvey, Carr & Hadfield                                                 Law Offices of Charles A. Pisaturo Jr.
47 Long Wharf Mall                                                      1055 Elmwood Avenue
Newport, RI 02840                                                       Providence, RI 02907−2817
Telephone number: (401)847−6000                                         Telephone number: (401) 274−3800

                                                       Meeting of Creditors
Date: May 1, 2014                                               Time: 02:00 PM
Location: The Federal Center, 380 Westminster Street, 6th Floor Room 620, Providence, RI 02903

                                  Presumption of Abuse under 11 U.S.C. § 707(b)
                                                See "Presumption of Abuse" on reverse side.
The presumption of abuse does not arise.

                                                               Deadlines:
                           Papers must be received by the bankruptcy clerk's office by the following deadlines:
                 Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: 6/30/14

                                             Deadline to Object to Exemptions:
    Thirty (30) days after the conclusion of the meeting of creditors unless the exceptions specified in Fed.R.Bankr.P. 1019(2)(B) apply.

                                       Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the
debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the
court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.

             Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
                                             Creditors with a Foreign Address
A creditor to whom this notice is sent at a foreign address should read the information under "Do Not File a Proof of Claim at This Time"
on the reverse side.
Address of the Bankruptcy Clerk's Office:                                                        For the Court:
                                                                        Clerk of the Bankruptcy Court:
The Federal Center
380 Westminster Street
6th Floor
Providence, RI 02903
Telephone number: (401) 626−3100                                        Susan M. Thurston
www.rib.uscourts.gov
Hours Open: Monday − Friday 9:00 AM − 4:00 PM                           Date: 3/29/14
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                                                          EXPLANATIONS                                                        FORM B9A (12/12)

Filing of Chapter 7      A bankruptcy case under Chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court
Bankruptcy Case          by or against the debtor(s) listed on the front side, and an order for relief has been entered.


 Legal Advice             The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in
                          this case.


Creditors Generally  Prohibited collection actions are listed in Bankruptcy Code § 362. Common examples of prohibited actions include
May Not Take Certain contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
Actions              obtain property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures;
                     and garnishing or deducting from the debtor's wages. Under certain circumstances, the stay may be limited to 30
                     days or not exist at all, although the debtor can request the court to extend or impose a stay.


Presumption of Abuse If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the case under § 707(b) of
                     the Bankruptcy Code. The debtor may rebut the presumption by showing special circumstances.


Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                         in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                         are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                         specified in a notice filed with the court.


Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a
Claim at This Time     proof of claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice
                       telling you that you may file a proof of claim, and telling you the deadline for filing your proof of claim. If this
                       notice is mailed to a creditor at a foreign address, the creditor may file a motion requesting the court to extend the
                       deadline.
                       Do not include this notice with any filing you make with the court.


Discharge of Debts       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                         never try to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under
                         Bankruptcy Code § 727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code § 523(a)(2), (4),
                         or (6), you must file a complaint −− or a motion if you assert the discharge should be denied under § 727(a)(8) or
                         (a)(9) −− in the bankruptcy clerk's office by the Deadline to Object to Debtor's Discharge or to Challenge the
                         Dischargeability of Certain Debts listed on the front of this form. The bankruptcy clerk's office must receive the
                         complaint or motion and any required filing fee by that deadline.


Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                         to creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
                         clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an
                         objection to that exemption. The bankruptcy clerk's office must receive the objections by the "Deadline to Object to
                         Exemptions" listed on the front side.


Bankruptcy Clerk's       Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                   on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                         the property claimed as exempt, at the bankruptcy clerk's office.


Creditors with a         Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address          case.


Electronic Bankruptcy Parties can now choose to receive all notices and attachments served by the clerk's office electronically instead of
Noticing              via US mail. For information on or how to register for this free service, contact the Bankruptcy Noticing Center at
                      www.ebnuscourts.com.
                         −− Refer to Other Side for Important Deadlines and Notices −−
